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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x
In re:                                                                                       Case No.25-41368
Avon Place, LLC
                                                                                             Chapter 11


                                                     Debtor(s)
----------------------------------------------------------------------x

                               AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)


         Avon Place, LLC
         ___________________________________, undersigned debtor herein, swears as follows:


                                                                          March 21, 2025
                                             11 of the Bankruptcy Code on ________________________________.
    1. Debtor filed a petition under chapter ____

                   A, B, F and G were not filed at the time of filing of the said petition, and is/are being filed herewith.
    2. Schedule(s) __________

    3. [Check applicable box]:

             The schedules filed herewith reflect no additions or corrections to, or deletions from, list of creditors which
             accompanied the petition.

         ✔   Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list of
             creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
             previously listed names and/or addresses have been corrected. The nature of the change (addition, deletion or
             correction) is indicated for each creditor listed.

    4. [If creditors have been added] An amended mailing matrix is annexed hereto, listing added creditors ONLY, in
       the format prescribed by Local Rule 1007-3.

    Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-1(b)
    has been filed with the Court.

    Any additions to the list of creditors which accompanied the petition will be deemed an amendment to the list; if this
    amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007; it will be
    deemed to constitute a motion for a 30-day extension of the time within any added creditors may file a complaint to
    object to the discharge of the debtor and/or to determine dischargeability. The motion will be deemed granted without
    a hearing if no objection is filed with the Court and served on debtor within 14 days following filing of proof of
    service of this affirmation, all attachments and the amended schedules in accordance with EDNY LBR 1009-1.

    Dated: April 7, 2025
           ______________________                                                    _s/Mark Frankel, as Attorney for the
                                                                                     Debtor
                                                                                     Debtor (signature)
    Sworn to before me this _7______
    Day of April, 20_2025
    s/Scott Krinsky
    Notary Public,
    State of New York


                                                                                                                     Rev. 12/1/2020
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                           AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)

                            Instructions for Completion of Form, Pro Se Debtor(s)

Provided your bankruptcy petition was accompanied by a list of all your creditors and their addresses, Bankruptcy
Rule 1007(c) allows 14 days from the date of filing of the petition to file your schedules. Pursuant to Local Rule
1007-1(b), schedules filed after the filing of a petition must be accompanied by this affidavit.

[NOTE: To the extent that the schedules reflect changes from the list of creditors filed with the petition, the list will
be deemed to have been amended. Local Rule 1009-1(a) requires that, in order for an amendment to be effective,
proof of service in accordance with Local Rule 1009-1(b) must be filed with the Clerk, The amendment must be
served upon the United States Trustee, the Case Trustee, and all Creditors who were added or deleted, and any other
party affected by the amendment. A form of certificate of service is available from the Customer Service
Representative in the Clerk’s Office.]

In re:      Name(s) of debtor(s) as it/they appear on the petition.

Case No.: The bankruptcy case number assigned at the time of filing of the petition, including the three digit judge
          code – EXAMPLE: 03-10345-353

Chapter:    The bankruptcy chapter under which relief is being sought (7, 9, 11, 12, 13 or 15)
Debtor:     Name(s) of debtor(s) signing affidavit.

Schedule(s): Specify schedule(s) affidavit related to (D and/or E/F)

Check applicable box: Check the first box if there have been no changes to the list of creditors originally filed. If
creditors have been added or deleted, or if corrections have been made, check the second box, and attach a listing of
all such creditors. The nature of the change must be indicated for each creditor listed.

Matrix:    If creditors have been added, an amended matrix must be submitted, listing added creditors ONLY.
Signature: The form must be signed by the debtor(s). The date of the signing must be indicated at the prompt on the
           lower left of the form.

Sworn to: You must have the form notarized before presenting it to the Court.

FEE:        A $32 fee is due, if creditors have been added to or deleted from the list of creditors originally
            filed. [Changing of a creditor’s address does NOT require payment of a fee.]


SERVICE OF NOTICE: If creditors have been added, you are responsible for mailing to each such creditor a copy
of the notice that the Court issued (and which should have previously been mailed to you) advising of the filing of the
case, the meeting of creditors and the fixing of certain deadlines. You should file a certificate of service of the notice
along with the schedules. [NOTE: A form of certificate of service is available at the Clerk’s Office.]
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Additional parties on Matrix: Debtor’s Tenants on Schedule G

Venkata Simharaja
47 Avonwood Road
Apt. 101
Avon, CT 06001

Yamileth Norberto
47 Avonwood Road
Apt. 102
Avon, CT 06001

Ganesan Thirupathi
47 Avonwood Road
Apt. 113
Avon, CT 06001

Amanda Ortiz
47 Avonwood Road
Apt. 119
Avon, CT 06001

Wayne Deroy
47 Avonwood Road
Apt. 201
Avon, CT 06001

Damaris Sanchez
47 Avonwood Road
Apt. 213
Avon, CT 06001

Josefina Tolo
47 Avonwood Road
Apt. 219
Avon, CT 06001

Bhavana Thakur, Vishal Singh Thakur, Kaashvi Thakur
47 Avonwood Road
Apt. 302
Avon, CT 06001

Miguel Espada
47 Avonwood Road
Apt. 316
Avon, CT 06001
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Bwana Yusuf
47 Avonwood Road
Apt. 317
Avon, CT 06001

Sheryl Duby
48 Avonwood Road
Apt. 105
Avon, CT 06001

Patrick Casey
48 Avonwood Road
Apt. 114
Avon, CT 06001

Michele Kyles
48 Avonwood Road
Apt. 120
Avon, CT 06001

Ricardo Ramirez Jr, Stephanie Lanzo-Ramirez
48 Avonwood Road
Apt. 209
Avon, CT 06001

Hal Sacks
48 Avonwood Road
Apt. 210
Avon, CT 06001

Jamyra Alexander
48 Avonwood Road
Apt. 215
Avon, CT 06001

Rhonda Heard
48 Avonwood Road
Apt. 219
Avon, CT 06001

Karen Bissett
48 Avonwood Road
Apt. 315
Avon, CT 06001
